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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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 In re:                                                         :    Chapter 7
                                                                :    Case No.: 08-12667-reg
          BOAZ BAGBAG,                                          :
                                                                :    Hon. Robert E. Gerber
                                              Debtor.           :
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                ORDER DENYING MOTION OF DEBTOR TO REOPEN CASE

                  Upon the motion, dated February 6, 2014 (the “Motion”) of debtor Boaz Bagbag,

 seeking an order pursuant to 11 U.S.C. §350 and Fed. R. Bankr. P. 5010 reopening Debtor’s

 Chapter 7 case to add Metropolitan Leasing, LLC as an unsecured creditor and seeking related

 relief, all as more fully described in the Motion [Docket Nos. 135 and 136]; and Metropolitan

 Leasing, LLC having filed its opposition to the Motion [Docket No. 137] (the “Opposition”);

 and Debtor having filed his reply in further support of the Motion [Docket No. 138] (the

 “Reply”); and the Court having held a hearing to consider the requested relief on March 5, 2014

 (the “Hearing”); and based upon the Motion, the Opposition, the Reply, and the record of the

 Hearing, and all of the proceedings before the Court, it is

                  ORDERED that for the reasons set forth on the record of the Hearing, the Motion

 is DENIED.



 Dated: New York, New York
        March 11, 2014
                                                                  s/ Robert E. Gerber
                                                               Honorable Robert E. Gerber
                                                               United States Bankruptcy Judge
